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         r             IN THE COUNTY COURT OF THE NINTH JUDICIAL CIRCUIT
                               IN AND FOR ORANGE COUNTY, FLORIDA

        ARSLAN AKHMETOV,

                Plaintiff,
                                                                                     Case No.
        LW
                                                                                     JURY TRL4L DEMANDED
        HEALTHCARE                REVENUE              RECOVERY
         GROUP, LLC,
                                                                                     INJUNCTIVE RELIEF SOUGHT
                Defendant.
                                                                       /


                                                             COMPLAINT

                Plaintiff Arslan Akhmetov ("Plaintiff') sues Defendant Healthcare Revenue Recovery

         Group, LLC ("Defendant") for violations the Florida Consumer Collection Practices Act

         ("FCCPA") and the Fair Debt Collection Practices Act ("FDCPA")

                                                 JURISDICTION AND VENUE

                1.         This Court has subject rnatter jurisdiction over Plaintiff and Defendant

         (collectively, the "Parties"), because the cause of action arises within the jurisdiction of this Court

         and, thus, venue and jurisdiction are proper.

                2.         This Court has personal jurisdiction over Defendant because Defendant is

         operating, present, and/or doing business within this jurisdiction and because the complained of

         conduct of Defendant occurred within Orange County, Florida.

                 3.         The amount in controversy is greater than $8,000, but does not exceed $15,000,

         exclusive of costs, interest, and attorneys' fees, and is otherwise within this Court's jurisdiction.

                 4.         Venue of this action is proper in this Court because, pursuant to Fla. Stat. § 47.011,

         et seq., the cause of action alleged below arose in Orange County Florida.


                                                                                                                           PAGE I 1 of 7
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%                                                       PARTIES

       5.         Plaintiff is a natural person, and a citizen of the State of Florida, residing in Orange

County, Florida.

       6.         Defendant is a Florida Limited Liability Company, with its principal place of

business located in Sunrise FL 33323.

                                         DEMAND FOR JURY TRIAL

       7.         Plaintiff, respectfully, demands a trial by jury on all counts and issues so triable.

                                          FACTUAL ALLEGATIONS

       8.         On a date better known by Defendant, Defendant began attempting to collect a debt

(the "Consumer Debt") from Plaintiff.

       9.         The Consumer Debt is an obligation allegedly had by Plaintiff to pay money arising

from a transaction between the creditor of the Consumer Debt, Florida Emergency Physicians

Kang & Associates, and Plaintiff involving the provision of inedical services to Plaintiff

personally. (the "Subject Service").

       10.        The Subject Service was primarily for personal, family, or household purposes.

       11.        Defenclant is a business entity engageci in the business of soliciting consumer debts

for collection.

        12.       Detendant is a business entity en~~aged in the business of col lectin(y consumer debts.

        13.       Defendant regularly collects or attempts to collect, clirectly or indirectly, debts

oweci or due or asserted to be owed or due another.

        14.       Defendant is registered            bYltll   the F' lorida Ofi ice     of 1' lnanclal RegLllat(on      as a

`°Consumer Collection Agency."

        15.       Defendant's "Consumer Collection Agenc.v" license nuniber is CCA09 0 0 8=1=1.

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1      16.     Defendant maintains all the records specified in Rule 69V-180.080, Florida

Administrative Code.

       17.     The records specil ied by Rule 69V-180.080, Florida Administrative Code, of which

Defendant does maintain, are current to within one week of the current date.

       18.     Defendant is a'`debt collector'' witlhin the meaning of 15 U.S.C. § 1.692a(6).

       19.     Defendant is a"person" within the meaning of Fla. Stat. § 559.72.

       20.     On a date bettei- known by Defendant, Defendant transmittecl Plaintiff s personal

information to a third-party (the "Third-Party')

       21.     The personal information Defendant transmitted to the Tliird-Partv included, but

was riot limited to: [1] Plaintiff s name; [21 Plaintiff s address; [3] the existence of the Consumer

Debt; [4] the amount of the consumer debt; [5] the creditor of the Consunier Debt; [6] that Plaintiff

was the alleged debtor of the Consumer Debt; [7] information regarding the Subject Service; and

[8] that Plai-ntiff did not pay the Consumer Debt and{or defaulted on the Consumer Debt

(collectively, the "Transmitted Information").

       22.      The Third-Party. of whom Defendant transmitted Plaintiff.s personal information

to, complied Plaintiff s personal information and prepared a letter that was to be sent to Plaintiff

in an atteirlpt to collect the Consumer Debt.

        23.     The Transmitted Information affected Plaintiff s reputation. For example, the

transmission of such information affected Plairitiff s reputation regarding the repayment of debts,

Plaintiff s reputation of truthfulness, Plaintiff s reputation of solvency, and Plaintiff s reputation

regarding trustworthiness.

        24.     Defendant's translnission of Plaintiff s personal information to the Third-Part<< was

a comrnunieation in connection with the collect of the Consumer Debt.

                                                                                                               PAGE 13 of 7
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%      25.        In addition to transmitt'tng Plaintiff s personal information to the Third-Party,

Defendant also trarismitted Plaintiff s personal information to othej- third-party entities in

connection witll the collection of the Consumer Debt. Defendant transmitted such information to

these other third-party entities by, including bett not limiteci io: [1] utilizina ``skip trace" services;

[2] utilizing bankruptcy.. SCRA, probate, and other "scrubbing' services; and [3] utilizing

independerlt third-party contractors to attempt to col lect the Consumer debt from Plaintif'f:

        26.        On a date better known by Defendant, Defendant sent the letter prepared and/or

complied by the Third-Party to Plaintiff, of which was internally dated May 4, 2021, (the

"Collection Letter") in an attempt to collect the Consumer Debt.

        27.        Attached as Exhibit "A" is a copy of Collection Letter.

        28.        Defendant's transmission of Plaintiff s personal information to the Third-Party is

an explicit violation of § 1692c(b) of the FDCPA. See Hunstein v. Preferred Collection & Mgmt.

Servs., No. 19-14434, 2021 U.S. App. LEXIS 11648 (l lth Cir. Apr. 21, 2021) (a complete copy

of the Hunstein opinion is attached as Exhibit "B")

        29.        The Collection Letter contains a bar code and/or Quick Response ("QR") code, of

which are indicative of Defendant' s use of the Third-Party to prepare, print, package, compile,

and/or otherwise send the Collection.Letter.

        30.        For Defendant-DC to maintain a valid consumer collection agency license with the

Florida Department of State (so to otherwise lawfielly collect, or attempt to collect, consumer debts

from Florida consumers) Defendant knew it was required to tailor its (Defendant-DC' s) debt

collector methods to be in compliance with both the FDCPA and FCCPA.

        31.        Defendant knew that the Transmitted Information const'ituted an unlawful

transmission of Plaintiff s personal information in violation of § 1692c(b) of the FDCPA.

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       32.     The Third-Party did not have any legitimate need for the Transmitted Information,

as the Transmitted Information constituted an unlawful transmission of Plaintiff s personal

information in violation of § 1692c(b) of the FDCPA.



                                             COUNT 1
                                  VIOLATIOhT OF 15 U.S.C. § 1692c(b)

       33.      Plaintiff incorporates by reference paragraphs 1-32 of this Complaint.

       34.      Pursuant to § 1692c(b) of the FDCPA, "a debt collector may not communicate, in

connection with the collection of any debt, with any person other than the consumer, his attorney,

a consumer reporting agency if otherwise permitted by law, the creditor, the attorney of the

creditor, or the attorney of the debt collector." 15 U.S.C. 1692c(b) (emphasis added).

       35.      As set forth above, Defendant's transmission of Plaintiff's personal information to

the Third-Party violates § 1692c(b) of the FDCPA. See Hunstein, No. 19-14434, 2021 U.S. App.

LEXIS 11648 ("[w]e hold (1) that a violation of § 1692c(b) gives rise to a concrete injury in fact

under Article III and (2) that the debt collector's transmittal of the consumer's personal information

to its dunning vendor constituted a communication ` in connection with the collection of any debt'

within the meaning of § 1692c(b).") Accordingly, Defendaiit violated § 1692c(b) of the FDCPA

when it transmitted Plaintiff' s personal information to the Third-Party.

       36.      WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

against Defendant, awarding Plaintiff the following relief:

                (a)       Statutory and actual damages as provided by 15 U.S.C. § 1692k;

                (b)       Costs and reasonable attorneys' fees pursuant to 15 U.S.C. § 1692k; and

                (c)       Any other relief that this Court deems appropriate under the circumstances.


                                                                                                              PAGE 15 of 7
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                                                                    r..o   m
                                                     COUNT 2
                              VIOLATION OF FLA. STAT. 4 559.72(5)

       37.     Plaintiff incorporates by reference paragraphs 1-32 of this Complaint.

       38.     Pursuant to § 559.72(5) of the FCCPA, in collecting consumer debts, no person

shall: "[d]isclose to a person other than the debtor or her or his family information affecting the

debtor's reputation, whether or notfor credit worthiness, with knowledge or reason to know that

the other person does not have a legitimate business need for the information or that the

information isfalse." Fla Stat. § 559.72(5) (emphasis added).

       39.     As set forth above, Defendant unlawfully transmitted Plaintiff s personal

information, by and through the Transmitted Information, to the Third-Party, whereby said

transmitted information affective PlaintifP s reputation because the Third-Parry did not have any

legitimate need for unlawfully transmitted personal information of Plaintiff.

       40.     WHEREFORE, Plaintiff, respectfully, requests this Court to enter a judgment

against Defendant, awarding Plaintiff the following relief:

               (a)       Statutory and actual damages pursuant to Fla. Stat. §559.77(2);

               (b)       An injunction prohibiting Defendant from engaging in further collection
                         activities directed at Plaintiff that are in violation of the FCCPA;

               (c)       Costs and reasonable attorneys' fees pursuant to Fla. Stat. §559.77(2); and

               (d)       Any other relief that this Court deems appropriate under the circumstances.

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DATED: June 15, 2021
                                                         Respectfully Submitted,

                                                          /s/ Jibrael S. Hindi
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        USCA11 Case: 19-14434       Date Filed: 04/21/2021   Page: 1 of 23



                                                                       [PUBLISH]

              IN THE UNITED STATES COURT OF APPEALS

                       FOR THE ELEVENTH CIRCUIT


                                  No. 19-14434


                   D.C. Docket No. 8:19-cv-00983-TPB-TGW



RICHARD HUNSTEIN,

                                                              Plaintiff - Appellant,

                                     versus

PREFERRED COLLECTION AND MANAGEMENT SERVICES, INC.,

                                                             Defendant - Appellee.



                  Appeal from the United States District Court
                      for the Middle District of Florida


                                 (April 21, 2021)

Before JORDAN, NEWSOM, and TJOFLAT, Circuit Judges.

NEWSOM, Circuit Judge:

      This appeal presents an interesting question of first impression under the

Fair Debt Collection Practices Act—and, like so many other cases arising under
          USCA11 Case: 19-14434       Date Filed: 04/21/2021    Page: 2 of 23



federal statutes these days, requires us first to consider whether our plaintiff has

Article III standing.

      The short story: A debt collector electronically transmitted data concerning

a consumer's debt—including his name, his outstanding balance, the fact that his

debt resulted from his son's medical treatment, and his son's name—to a third-

party vendor. The third-party vendor then used the data to create, print, and mail a

"dunning" letter to the consumer. The consumer filed suit alleging that, in sending

his personal information to the vendor, the debt collector had violated 15 U.S.C. §

1692c(b), which, with certain exceptions, prohibits debt collectors from

communicating consumers' personal information to third parties "in connection

with the collection of any debt." The district court rejected the consumer's reading

of § 1692c(b) and dismissed his suit. On appeal, we must consider, as a threshold

matter, whether a violation of § 1692c(b) gives rise to a concrete injury in fact

under Article III, and, on the merits, whether the debt collector's communication

with its dunning vendor was "in connection with the collection of any debt."

       We hold (1) that a violation of § 1692c(b) gives rise to a concrete injury in

fact under Article III and (2) that the debt collector's transmittal of the consumer's

personal information to its dunning vendor constituted a communication "in

connection with the collection of any debt" within the meaning of § 1692c(b).




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         USCA11 Case: 19-14434        Date Filed: 04/21/2021   Page: 3 of 23



Accordingly, we reverse the judgment of the district court and remand for further

proceedings.

                                          I

      Congress enacted the FDCPA "to eliminate abusive debt collection practices

by debt collectors" and "to protect consumers against debt collection abuses." 15

U.S.C. § 1692(e). To that end, § 1692c(b) of the FDCPA, titled "Communication

with third parties," provides that—

      Except as provided in section 1692b of this title, without the prior
      consent of the consumer given directly to the debt collector, or the
      express permission of a court of competent jurisdiction, or as
      reasonably necessary to effectuate a postjudgment judicial remedy, a
      debt collector may not communicate, in connection with the collection
      of any debt, with any person other than the consumer, his attorney, a
      consumer reporting agency if otherwise permitted by law, the creditor,
      the attorney of the creditor, or the attorney of the debt collector.

15 U.S.C. § 1692c(b). The provision that § 1692c(b) cross-references—§ 1692b—

governs the manner in which a debt collector may communicate "with any person

other than the consumer for the purpose of acquiring location information." 15

U.S.C. § 1692b. The FDCPA thus broadly prohibits a debt collector from

communicating with anyone other than the consumer "in connection with the

collection of any debt," subject to several carefully crafted exceptions—some

enumerated in § 1692c(b), and others in § 1692b.

      Richard Hunstein incurred a debt to Johns Hopkins All Children's Hospital

arising out of his son's medical treatment. The hospital assigned the debt to
                                           3
          USCA11 Case: 19-14434            Date Filed: 04/21/2021       Page: 4 of 23



Preferred Collections & Management Services, Inc. for collection. Preferred in

turn hired Compumail, a California-based commercial mail vendor, to handle the

collection. Preferred electronically transmitted to-Compumail certain information

about Hunstein, including, among other things: (1) his status as a debtor, (2) the

exact balance of his debt, (3) the entity to which he owed the debt, (4) that the debt

concerned his son's medical treatment, and (5) his son's name. Compumail used

that information to generate and send a dunning letter to Hunstein.

       Hunstein filed a complaint, alleging violations of both the FDCPA, see 15

U.S.C. §§1692c(b) and 1692f, and the Florida Consumer Collection Practices Act,

see Fla. Stat. § 559.72(5). As relevant here, the district court dismissed Hunstein's

action for failure to state a claim, concluding that he hadn't sufficiently alleged that

Preferred's transmittal to Compumail violated § 1692c(b) because it didn't qualify

as a communication "in connection with the collection of a[ny] debt."1




1 The district court held for the same reason that Hunstein had not stated a claim for a violation
of § 1692f. The district court then declined. to accept supplemental jurisdiction over Hunstein's
state law claim. Hunstein's appeal addresses only the portion of his complaint relating to
§ 1692c(b).

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           USCA11 Case: 19-14434          Date Filed: 04/21/2021       Page` 5 of 23



       Hunstein appealed, and we requested supplemental briefing on the question

whether he had Article III standing to sue, which we now consider along with the

merits.2

                                               II

       First things first. Because standing implicates our subject matter

jurisdiction, we must address it at the outset, before turning to the merits. Steel Co.

v. Citizens for a Better Env't, 523 U.S. 83, 101-02 (1998). Article III of the

Constitution grants federal courts "judicial Power" to resolve "Cases" and

"Controversies." U.S. Const. art. III, §§ 1-2. This case-or-controversy

requirement, which has been construed to embody the doctrine of standing,

"confines the federal courts to a properly judicial role." Spokeo, Inc. v. Robins,

136 S. Ct. 1540, 1547 (2016). The "irreducible constitutional minimum" of Article

III standing entails three elements: injury in fact, causation, and redressability.

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-561 (1992).

       Hunstein's appeal involves the first element, injury in fact, which consists of

"an invasion of a legally protected interest" that is both "concrete and


z Whether Hunstein has standing to sue is a threshold jurisdictional question that we review de
novo. .Debernardis v. IQ Formulations, LLC, 942 F.3d 1076, 1083 (l lth Cir. 2019). "We
review the decision to dismiss Plaintiff's complaint pursuant to Rule 12(b)(6) de novo, applying
the same standard as the district court." Holzman- v. Malcolm S. Gerald & Assocs., Inc., 920
F.3d 1264, 1268 (11th Cir. 2019). Accepting the complaint's allegations as true and construing
the facts in the light most favorable to Hunstein; "the relevant inquiry is whether Plaintiff has
stated a`plausible claim for reliefl under the FDCPA." Id. (quoting Ashcroft v. Iqbal, 556 U.S.
662, 679 (2009)).

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              USCA11 Case: 19-14434        Date Filed: 04/21/2021    Page: 6 of 23


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    particularized" and "actual or imminent, not conjectural or hypothetical." Id. at

    560 (quotation marks omitted). In Trichell v. Midland Credit Mgmt., Inc., 964

    F.3d 990 (l lth Cir. 2020), a case involving the FDCPA, we reiterated that "[e]ach

    subsidiary element of injury—a legally protected interest, concreteness,

    particularization, and imminence—must be satisfied." Id. at 996-97. The standing

    question here implicates the concreteness sub-element.

          A plaintiff can meet the concreteness requirement in any of three ways.

    First, he can allege a tangible harm—a category that is "the most obvious and

    easiest to understand" and that includes, among other things, physical injury,

    financial loss, and emotional distress. See Muransky v. Godiva Chocolatier, Inc.,

    979 F.3d 917, 926 (l lth Cir. 2020) (en banc); see also Huff v. TeleCheck Servs.,

    Inc., 923 F.3d 458, 463 (6th Cir. 2019). Second, a plaintiff can allege a"risk of

    real harm." Muransky, 979 F.3d at 927. Third, in the absence of a tangible injury

    or a risk of real harm, a plaintiff can identify a statutory violation that gives rise to

    an intangible-but-nonetheless-concrete injury. Spokeo, 136 S. Ct. at 1549. We

    consider each possibility in turn.

                                                A

          Hunstein doesn't allege a tangible harm. The complaint contains no

    allegations of physical injury, financial loss, or emotional distress. Instead, the

    complaint (1) conclusorily asserts that "[i]f a.debt collector `conveys information


                                                6
          USCA11 Case: 19-14434        Date Filed: 04/21/2021    Page: 7 of 23


regarding the debt to a third party—informs the third party that the debt exists or

provides information about the details of the debt—then the debtor may well be

harmed by the spread of this information,"' and (2) vaguely references the "known,

negative effect that disclosing sensitive medical information to an unauthorized

third-party has on consumers[.]" In his supplemental brief, Hunstein asks us to

construe these assertions as allegations of emotional harm, arguing that he was

"humiliated, embarrassed, and suffered severe anxiety[.]" But we have "repeatedly

held that an issue not raised in the district court and raised for the first time in an

appeal will not be considered by this court." Access Now, Inc. v. Sw. Airlines Co.,

385 F.3d 1324, 1331 (l lth Cir. 2004) (quotation marks omitted). Hunstein thus

cannot establish standing on the basis of a tangible harm.

                                            IV

       Nor can Hunstein demonstrate standing by the second route—showing a

"risk of real harm." "[W]hile very nearly any level of direct injury is sufficient to

show a concrete harm, the risk-of-harm analysis entails a more demanding

standard—courts are charged with considering the magnitude of the risk."

Muransky, 979 F.3d at 927. "Factual allegations that establish a risk that is

substantial; significant, or poses a realistic danger will clear this bar[.]" Id. at 933.

Put slightly differently, to constitute injury in fact, the "threatened injury must be

certainly impending." Clapper v. Amnesty Int'l USA, 568 U.S. 398, 409 (2013).

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         USCA11 Case: 19-14434        Date Filed: 04/21/2021    Page: 8 of 23



Again, Hunstein alleges only that a debtor "may well be harmed by the spread" of

the sort of information at issue here. That vague allegation falls short of a risk that

is "substantial, significant, or poses a realistic danger," Muransky, 979 F.3d at 933,

or is "certainly impending," Clapper, 568 U.S. at 409.

                                          C

      We thus consider whether Hunstein can show standing in the third manner

through a statutory violation. "[T]he violation of a procedural right granted by

statute can be sufficient in some circumstances to constitute injury in fact," such

that "a plaintiff ... need not allege any additional harm beyond the one Congress

has identified." Spokeo, 136 S. Ct. at 1549. Spokeo instructs that in determining

whether a statutory violation confers Article III standing, we should consider

"history and the judgment of Congress." Id.

                                           1

      Starting with history, we can discern a concrete injury where "intangible

harm has a close relationship to a harm that has traditionally been regarded as

providing a basis for a lawsuit in English or American courts." Id. Put differently,

we look to "whether the statutory violation at issue led to a type of harm that has

historically been recognized as actionable." Muransky, 979 F.3d at 926.

Muransky explains that the "fit between a new statute and a pedigreed common-
         USCA11 Case: 19-14434         Date Filed: 04/21/2021    Page: 9 of 23



law cause of action need not be perfect, but we are called to consider at a minimum

whether the harms match up between the two." Id.

      For more than a century, invasions of personal privacy have been regarded

as a valid basis for tort suits in American courts. See, e.g., Pavesich v. New

England Life Ins. Co., 122 Ga. 190, 50 S.E. 68 (1905); Munden v. Harris, 153 Mo.

App. 652, 134 S.W. 1076 (1911); Kunz v. Allen, 102 Kan. 883, 172 P. 532 (1918).

By 1977, the Restatement (Second) noted that "the existence of a right of privacy

is now recognized in the great majority of the American jurisdictions that have

considered the question." Restatement (Second) of Torts § 652A cmt. a. (Am. Law

Inst. 1977).

      More particularly, the term "invasion of privacy" comprises an identifiable

family of common-law torts—including, most relevantly here, "public disclosure

of private facts." Invasion of Privacy, Black's Law Dictionary 952 (lOth ed.

2014). It is hornbook law that "[o]ne who gives publicity to a matter concerning

the private life of another is subject to liability to the other for invasion of his

privacy, if the matter publicized is of a kind that (a) would be highly offensive to a

reasonable person, and (b) is not of legitimate concern to the public." Restatement

(Second)'of Torts § 652D (1977); accord, e.g., 77 C.J.S. Right of Privacy and-

Publicity § 32; 62A Am. Jur. 2d Privacy § 79. Indeed, the Supreme Court itself

has recognized "the individual interest in avoiding disclosure of personal matters"

                                             9
        USCA11 Case: 19-14434       Date Filed: 04/21/2021    Page: 10 of 23



and has recognized that "both the common law and the literal understandings of

privacy encompass the individual's control of information concerning his or her

person." United States Dep't of Justice v. Reporters Comm. for Freedom of the

Press, 489 U.S. 749, 763 (1989) (citation and quotation marks omitted).

      Having established the historical pedigree of invasion-of-privacy torts—in

particular, the sub-species applicable to the public disclosure of private facts—we

next consider whether Preferred's alleged statutory violation is sufficiently

analogous. Notably, the FDCPA's statutory findings explicitly identify "invasions

of individual privacy" as one of the harms against which the statute is directed. 15

U.S.C. § 1692(a). And to that end, the statutory provision under which Hunstein

has sued here expressly prohibits a debt collector from "communicat[ing]" with

any but a few persons or entities "in connection.with the collection of any debt."

Id. § 1692c(b). Although § 1692c(b) isn't identical in all respects to the invasion-

of-privacy tort, we have no difficulty concluding that it bears "a close relationship

to a harm that has traditionally been regarded as providing a basis for a lawsuit in

English or American courts." Spokeo, 136 S. Ct. at 1549.

      Perry v. Cable News Network, Inc., 854 F.3d 1336 (l lth Cir. 2017), strongly

supports that conclusion. Perry concerned a plaintiff's allegations that CNN

divulged his news-viewing history to a third-party in violation of the Video

Privacy Protection Act. Emphasizing the widespread recognition both of the right


                                          10
         USCA11 Case: 19-14434       Date Filed: 04/21 /2021   Page: 11 of 23



to privacy in general and, more particularly, the privacy interest implicated by the

VPPA—the interest in preventing the disclosure of personal information—the

Court in Perry concluded that the statutory violation of the VPPA constituted a

cognizable Article III injury. Id. at 1341 (citing Reporters, 489 U.S. at 762-63).

Hunstein's allegations closely resemble those in Perry. The VPPA prohibits "[a]

video tape service provider [from] knowingly disclos[ing], to any person,

personally identifiable information concerning any consumer of such provider."

18 U.S.C. § 2710(b). As relevant here, the FDCPA similarly prohibits a debt

collector from "communicat[ing], in connection with the collection of any debt,

with any person other than the consuiner[.]" §1692c(b). The two statutes thus

share a common structure—A may not share information about B with C. Because

we find Perry's reasoning persuasive and analogous, we adopt it here.

      Our decision in Trichell does not require a contrary conclusion. That case

addressed a claim under a different FDCPA provision, § 1692e, which states that a

"debt collector may not use any false, deceptive, or misleading representation or

means in connection with the collection of any debt." 15 U.S.C. § 1692e. The

plaintiffs in-Trichell alleged that debt collectors had sent them misleading letters,

and in assessing their claims' pedigree, we determined that the "closest historical

comparison is to causes of action for fraudulent or riegligent misrepresentation."

964 F.3d at 998. Canvassing the common-law history of those torts, we held that


                                          11
         USCA11 Case: 19-14434       Date Filed: 04/21/2021    Page: 12 of 23



the plaintiffs' claims lacked the necessary "close relationship" to them. Id. at 997-

98. That conclusion is entirely consistent with our holding here that Hunstein has

standing to sue under a different FDCPA provision. Hunstein's claim, unlike the

Trichell plaintiffs', arises under § 1692c(b) and bears a close relationship to a

common-law tort.

                                           2

      Although it presents a closer question, we conclude that "the judgment of

Congress" also favors Hunstein. Congress, of course, expresses its "judgment" in

only one way—through the text of duly enacted statutes. Even assuming that

§ 1692c(b) does not clearly enough express Congress's judgment that injuries of

the sort that Hunstein alleges are actionable, here Congress went further to

"explairi itself." Huff, 923 F.3d at 466. In particular, as already noted, in a section

of the FDCPA titled "Congressional findings and declaration of purpose,"

Congress identified the "invasion[] of individual privacy" as one of the harms

against which the statute is directed. 15 U.S.C. § 1692(a). That, we think, is

sufficient.

      It's true that we pointed in Trichell to the FDCPA's language that a person

may recover "any actual damage sustained by such person as a result ofl' an

FDCPA violation and "such additional damages as the court may allow," 15

U.S.C. § 1692k(a), as evidence of Congress's judgment that violations of a


                                          12
         USCA11 Case: 19-14434       Date Filed: 04/21/2021   Page: 13 of 23



different provision—§ 1692e—do not ipso facto constitute a concrete injury.

Trichell, 964 F.3d at 1000. We don't read § 1692k(a), though, as categorically

limiting the class of FDCPA plaintiffs to those with actual damages—particularly

where, as here, the FDCPA's statutory findings expressly address the very harm

alleged—an "invasion[] of individual privacy." 15 U.S.C. § 1692(a).

                                       ~ ~ *


      Because (1) § 1692c(b) bears a close relationship to a harm that American

courts have long recognized as cognizable and (2) Congress's judgment indicates

that violations of §1692c(b) constitute a concrete injury, we conclude that Hunstein

has the requisite standing to sue.

                                         III

      Having determined that Hunstein has standing to sue under § 1692c(b), we

now consider the merits of his case. Recall that § 1692c(b) states that, subject to

several exceptions, "a debt collector may not communicate, in connection with the

collection of any debt," with anyone other than the consumer. 15 U.S.C.

§ 1692c(b). The parties agree that Preferred is a"debt collector," that Hunstein is a

"consumer," and that the alleged debt at issue here was a"consumer debt," all

within the meaning of § 1692c(b). Helpfully, the parties also agree that Preferred's

transmittal of Hunstein's personal information to Compumail constitutes a




                                          13
         USCA11 Case: 19-14434         Date Filed: 04/21/2021      Page: 14 of 23



"communication" within the meaning of the statute.3 Accordingly, the sole

question before us is whether Preferred's communication with Compumail was "in

connection with the collection of any debt," such that. it violates §1692c(b).

Hunstein contends that the plain meaning of the' phrase "in connection with the

collection of any debt" and relevant precedents show that it was and does.

Preferred, conversely, urges us to adopt a"factor-based analysis" that shows that, it

says, its communication with Compumail was not "in connection with the

collection of any debt."

      We begin with the plain meaning of the phrase "in connection with" and its

cognate word, "connection." Dictionaries have adopted broad definitions of both.

Webster's Third defines "connection" to mean "relationship or association."

Connection, Webster's Third International Dictionary at 481 (1961), and the

Oxford Dictionary of English defines the key phrase "in connection with" to mean

"with reference to [or] concerning," In Connection With, Oxford Dictionary of

English at 369 (2010). Usage authorities further explain that the phrase "in




3 Section 1692a(2) defines communication as "the conveying of information regarding a debt
directly or indirectly to any person through any medium." 15 U.S.C. § 1692a(2).

                                             14
        USCA11 Case: 19-14434       Date Filed: 04/21/2021   Page: 15 of 23



connection with" is "invariably a vague, loose connective." Bryan A. Garner,

Garner's Dictionary of Legal Usage 440 (3d ed. 2011).

      Preferred's transmittal to Compumail included specific details regarding

Hunstein's debt: Hunstein's status as a debtor, the precise amount of his debt, the

entity to which the debt was owed, and the fact that the debt concerned his son's

medical treatment, among other things. It seems to us inescapable that Preferred's

communication to Compumail at least "concerned," was "with reference to," and

bore a"relationship [or] association" to its collection of Hunstein's debt. We thus

hold that Hunstein has alleged a communication "in connection with the collection

of any debt" as that phrase is commonly understood.

      Preferred resists that conclusion on three different grounds, which we

address in turn.

                                         A

      First, Preferred relies on our interpretation of another FDCPA provision,

§ 1692e, to argue that communications "in connection with the collection of any

debt" necessarily entail a demand for payment. In relevant part, § 1692e states that

"[a] debt collector may not use any false, deceptive, or misleading representation

or means in connection with the collection of any debt." 15 U.S.C. § 1692e

(emphasis added). In the line of cases interpreting the meaning of "in connection

with the collection of any debt" in § 1692e, we have focused on the language of the


                                         15
         USCA11 Case: 19-14434        Date Filed: 04/21/2021    Page: 16 of 23



underlying communication. In Reese v. Ellis, Painter; Ratterree & Adams, LLP,

for instance, in concluding that a law firm's letter to a consumer was "in

connection with the collection of any debt" within the meaning of § 1692e, we

emphasized that the letter expressly stated that the firm was attempting to collect a

debt and was acting as a debt collector, demanded full and immediate payment,

and threatened to add attorneys' fees to the outstanding balance if the debtors

didn't pay. 678 F.3d 1211, 1217 (l lth Cir. 2012). Similarly, in Caceres v.

McCalla Raymer, LLC, we held that a collection letter constituted a

"communication in connection with the collection of a[ny] debt" under § 1692e for

similar reasons. Quoting the letter, we emphasized "that it is `for the purpose of

collecting a debt;' it refers in two additional paragraphs to `collection efforts;' it

states that collections efforts will continue and that additional attorneys' fees and

costs will accrue; it states the amount of the debt and indicates that it must be paid

in certified funds; and it gives the name of the creditor and supplies the law firm's

phone number in the paragraph where it talks about payments." 755 F.3d 1299,

1301-03 (l lth Cir. 2014).

       Relying on Caceres and Reese—both of which, again, addressed § 1692e—

the district court here adopted the following test:

       When determining whether a communication was made in connection
       with the collection of a[ny] debt, the courts look to the language of the
       communication itself to ascertain whether it contains a demand for
       payment and warns of additional fees or actions if payment is not
                                            T
        USCA11 Case: 19-14434        Date Filed: 04/21/2021   Page: 17 of 23



      tendered. Consequently, when determining whether the transmission
      of information to a third party constitutes a violation of the FDCPA, it
      is important to consider whether the communication makes an express
      or implied demand for payment.

      The district court's conclusion that the phrase "in connection with the

collection of any debt" necessarily entails a demand for payment defies the

language and structure of § 1692c(b) for two separate but related reasons—neither

of which applies to § 1692e. First, the demand-for-payment interpretation would

render superfluous the exceptions spelled out in §§ 1692c(b) and 1692b. Consider

as an initial matter tlie exceptions specified in § 1692c(b) itself "[A] debt

collector may not communicate, in connection with the collection of any debt, with

any person other than the consumer, his attorney, a consumer reporting agency if

otherwise permitted by law, the creditor, the attorney of the creditor, or the

attorney of the debt collector[.]" 15 U.S.C. § 1692c(b) (emphasis added).

Communications with four of the six excepted parties—a consumer reporting

agency, the creditor, the attorney of the creditor, and the attorney of the debt

collector—would never include a demand for payment. The same is true of the

parties covered by § 1692b and, by textual cross-reference, excluded from

§ 1692c(b)'s coverage: "person[s] other than the consumer" with whom a debt

collector might communicate "for the purpose of acquiring location informatioii




                                          17
         USCA11 Case: 19-14434        Date Filed: 04/21/2021    Page: 18 of 23



about the consumer." Id. § 1692b. A debt collector would presumably never make

a demand for payment of a party matching that description.

      The upshot is that the phrase "in connection with the collection of any debt"

in § 1692c(b) must mean something more than a mere demand for payment.

Otherwise, Congress's enumerated exceptions would be redundant. Under the

district court's demand-for-payment interpretation, Congress wouldn't have

needed to include exceptions for communications with consumer reporting

agencies, creditors, attorneys of creditors, attorneys of debt collectors_, or persons

providing a debtor's location information; those communications would have been

foreclosed ipso facto by the phrase "in connection with the collection of any debt."

It is a"cardinal principle of statutory construction" that "a statute ought, upon the

whole, to be so construed that, if it can be prevented, no clause, sentence, or word

shall be superfluous[.]" Duncan v. Walker, 533 U.S. 167, 174 (2001) (quotation

marks omitted); accord, e.g., Antonin Scalia & Bryan A. Garner, Reading Law:

The Interpretation of Legal Texts 174 (2012) ("If possible, every word and every

provision is to be given effect .... None should be ignored. None should

needlessly be given an interpretation that causes it to duplicate another provision or

to have no consequence."). Because it is possible—and indeed, we think, more




                                           18
         USCA11 Case: 19=14434       Date Filed: 04/21/2021    Page: 19 of 23



natural—to interpret § 1692c(b) in a way that does not render most of its textually .

specified exceptions redundant, we will do so.

      Second, and relatedly, the district court's interpretation renders yet another

portion of § 1692c(b) meaningless. By insisting on a demand for payment, the

district court essentially interpreted "in connection with the collection of any debt"

to mean "to collect any debt." Under this interpretation, the key phrase "in

connection with" has no independent meaning or force. But as just explained, we

have a duty to "give effect, if possible, to every clause and word of a statute[.]"

Duncan, 533 U.S. at 174.

      The district court seems to have been led astray by its reliance on decisions

interpretirig § 1692e, whose language and operation are different from

§ 1692c(b)'s in. important respects. As a linguistic matter, § 1692e contains none

of the specific exceptions that § 1692c(b) does; accordingly, there was no risk in

Reese or Caceres that, by reading a"demand for payment" gloss into § 1692e, we

would render other portions of that statute- redundant or meaningless. And as an

operational matter, § 1692e—which prohibits "false, deceptive, or misleading

representation or means in connection with the collection of any debt"—covers the

sorts of claims that are brought by recipients of debt collectors' communications—

i.e., debtors. See Caceres, 755 F.3d at 1300-1301 (case brought by recipient-of

letter, the debtor); Reese, 678 F.3d at 1214 (same). As its title indicates, by


                                          19
           USCA11 Case: 19-14434     Date Filed: 04/21/2021    Page: 20 of 23



contrast, § 1692c(b), targets debt collectors' "[c]ommunication with third parties,''

not debtors. In the typical § 1692c(b) case, the debtor isn't the recipient of the

challenged communication. Linguistic differences aside, this practical operational

difference undermines any argument that the meaning of the phrase "in connection

with the collection of any debt" must necessarily be the same in § 1692c(b) as in §

1692e.



      Preferred separately urges us to adopt the holistic, multi-factoring balancing

test that the Sixth Circuit decreed in its unpublished opinion in Goodson v. Bank of

Am., N.A., 600 Fed. Appx. 422 (6th Cir. 2015). That test counsels courts

confroriting § 1692e's "in connection with the collection of any debt" language to

take into account the following seven considerations:

      (1) the nature of the relationship of the parties; (2) whether the
      communication expressly demanded payment or stated a balance due;
      (3) whether it was sent in response to an inquiry or request by the
      debtor; (4) whether the statements were part of a strategy to make
      payment more likely; (5) whether the communication was from a debt
      collector; (6) whether it stated that it was an attempt to collect a debt;
      and (7) whether it threatened consequences should the debtor fail to
      pay.

Goodson, 600 F. App'x at 431. We decline Preferred's invitation for two related

reasons.

      First, and perhaps most obviously, .Goodson and the cases that have relied on

it coricern § 1692e—not § 1692c(b). And as just explained, §§ 1692c(b) and
                                          20
         USCA11 Case: 19-14434       Date Filed: 04/2112021    Page: 21 of 23



1692e differ both (1) linguistically, in that the former includes a series of

exceptions that an atextual reading risks rendering meaningless, while the latter

does not, and (2) operationally, in that they ordinarily involve different parties.

Goodson's seventh factor—whether the communication threatened consequences

should the debtor fail to pay—illustrates this point. It makes little sense for a debt

collector to threaten consequences should the debtor fail to pay in a

communication that is not sent to the debtor himself.

      Second, we believe that in the context of § 1692c(b), the phrase "in

connection with the collection of any debt" has a discernible ordinary meaning that

obviates the need for resort to extratextual "factors." All too often, multifactor

tests—especially seven-factor tests like Goodson's—obscure more than they

illuminate. Parties to FDCPA-governed transactions—debtors, creditors, debt

collectors, lawyers, etc.—are entitled to guidance about the scope of permissible

activity. They are likelier to get it even from a broadly framed statutory language

than from a judge-made gestalt.

                                           C

       Lastly, Preferred makes what we'11 call an "industry practice" argument. It

contrasts what it says is the widespread use of mail vendors like Compumail and

the relative dearth of FDCPA suits against them. More particularly, Preferred

identifies cases involving mail vendors and emphasizes that none of them hold that


                                           21
        USCA11 Case: 19-14434        Date Filed: 04/21/2021    Page: 22 of 23



a debt collector's mail vendor violated the FDCPA. True enough, but none of the

cases that Preferred cites involved § 1692c(b) claims, and the courts in those cases

certainly had no obligation to sua sponte determine whether the collectors'

communications to their vendors violated § 1692c(b). That this is (or may be) the

first case in which a debtor has sued a debt collector for disclosing his personal

information to a mail vendor hardly proves that such disclosures are lawful.

      One final (and related) point: It's not lost on us that our interpretation of

§ 1692c(b) runs the risk of upsetting the status quo in the debt-collection industry.

We presume that, in the ordinary course of business, debt collectors share

information about consumers not ,only with dunning vendors like Compumail, but

also with other third-party eritities. Our reading of § 1692c(b) may well require

debt collectors (at least in the short term) to in-source many of the services that

they had previously outsourced, potentially at great cost. We recognize, as well,

that those costs may not purchase much in the way of "real" consumer privacy, as

we doubt that the Compumails of the world routinely read, care about, or abuse the

information that debt collectors transmit to them. Even so, oiir obligation is to

interpret the law as written, whether or not we think the resulting consequences are

particularly sensible or desirable. Needless to say, if Congress thinks that we've




                                          22
        USCA11 Case: 19-14434         Date Filed: 04/21/2021   Page: 23 of 23



misread § 1692c(b)—or even that we've properly read it but that it should be

amended—it can say so.

                                          IV

      To sum up, Hunstein has Article III standing to bring his claim under

§ 1692c(b). Further, because Preferred's transmittal of Hunstein's personal debt-

related information to Compumail constituted a communication "in connection

with the collection of any debt" within the meaning of § 1692c(b)'s key phrase,

Hunstein adequately stated a claim.

      REVERSED and REMANDED.




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